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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                              PADUCAH DIVISION


EDWARD RAY WINDHORST


                     Plaintiff,                  CIVIL COMPLAINT

v.
                                                 JURY TRIAL DEMAND

SWIFT & STALEY INC.
                                                           5:16-cv-77-TBR
                                                 Case No: __________

                     Defendant.
                                                 Judge:




       Comes the Plaintiff, Edward Ray Windhorst (“Windhorst” or “Plaintiff”), by and

through the undersigned counsel, and for his complaint against the Defendant, Swift &

Staley Inc., (“Swift & Staley” or “Defendant”) states as follows:

                                   INTRODUCTION

       This is a civil action to recover damages sustained by the Plaintiff, Edward Ray

Windhorst, as a result of the Defendant’s breach of an employment agreement, violation

of the Fair Labor Standards Act (“FLSA”), §15(a)(3), and common law wrongful

termination. The Defendant, Swift & Staley, entered an employment contract with

Windhorst agreeing to employ him continuously for a three (3) year term. Pursuant to

the parties’ agreement, the term commenced when the Defendant was notified of the

award of a “Recompete Contract” with the Department of Energy. The Defendant was

officially awarded the “Recompete Contract” by the Department of Energy on October 1,

2015. The contract has a potential value of $177.2 million. Windhorst performed

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services under the employment agreement as a Human Resources Manager. Despite the

provisions in the employment agreement, the Defendant breached its contract with

Windhorst by terminating him on December 11, 2015. As a result of Swift & Staley Inc.’s

breach, Windhorst incurred damages including loss of income, loss of benefits, and

other legally recognized damages arising out of the contractual breach.

      While Swift & Staley initially refused to disclose the reasons for the breach,

Windhorst discovered months after his termination that he was terminated as a result of

his participation in a complaint arising as the result of a pay raise request. Windhorst’s

participation in the process was protected under FLSA §15(a)(3). The actions taken by

Swift & Staley to prevent and suppress protected conduct further constitutes a wrongful

termination as a result of being a violation of a “well-defined public policy” under

Kentucky common law.

                                       PARTIES

      1.     The Plaintiff, Edward Ray Windhorst, is an individual residing in Paducah,

McCracken County, Kentucky (“Windhorst”).

      2.     The Defendant, Swift & Staley Inc., is a Kentucky corporation with its

principal office and registered agent’s office located at 101 Liberty Dr., Suite 7, Kevil,

Kentucky 42053 (“Swift & Staley”).

      3.     At all relevant times, the Defendant, Swift & Staley, was a federal

contractor for the Department of Energy.




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                             JURISDICTION AND VENUE

       4.      This Court has jurisdiction over the subject matter of the action pursuant

to 28 U.S.C. §1331, by virtue of federal question, 29 U.S.C. §201, et seq. of the FLSA.

       5.      This Court has supplemental jurisdiction over Plaintiff’s state law claims

by authority of 28 U.S.C. §1367.

       6.      Venue lies with this Court pursuant to 28 U.S.C. §1391(b) and 29 U.S.C.

§201 et seq. for the following reasons:

            A. All events that gave rise to the Plaintiff’s claims in this action occurred in

               Paducah, McCracken County, Kentucky.

            B. The Defendant, Swift & Staley, performs a substantial amount of work in

               Paducah, McCracken County, Kentucky, in that it performs work at the

               Paducah Gaseous Diffusion Plant.

            C. The Plaintiff and the Defendant agreed pursuant to the “Swift & Staley

               Employment Commitment” that all parties would consent to jurisdiction

               in McCracken County, Kentucky.         See Exhibit A, “Swift & Staley Inc.

               Employment Commitment”, p. 4, ¶15.

                               FACTUAL ALLEGATIONS

       7.      Swift & Staley is a corporation providing environmental management and

facilities management services, including but not limited to, performing services and

providing materials for the United States Department of Energy (“DOE”) at the Paducah

Gaseous Diffusion Plant.

       8.      Windhorst was formerly an employee of Swift & Staley, employed as the

Human Resources Manager.

       9.      Windhorst was terminated by Swift & Staley on December 11, 2015.

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       10.    During his employment with Swift & Staley, Windhorst entered into a

contract with Swift & Staley entitled the “Swift & Staley Employment Commitment”

(“Agreement”). Ex. A.

       11.    The Agreement was contingent upon Swift & Staley successfully receiving

the bid for the Paducah Infrastructure Support Services Contract (“Recompete

Contract”), a support services contract with the DOE on which Defendant had submitted

a bid that was accepted by the DOE.

       12.    Pursuant to the Agreement, Swift & Staley agreed to continuously employ

Windhorst for a term “to be measured from the date [Swift & Staley] is notified of the

award of the Recompete Contract and three (3) years thereafter”. Ex. A, p.1, ¶2.

       13.    Windhorst’s compensation under the Agreement included his annual base

salary for each year of the three-year period, as well as any performance-based increases

permitted in accordance with “typical payroll policies and procedures.” Id., p. 1-2, ¶3.

       14.    Swift & Staley provided Windhorst employee benefits under the

Agreement in addition to his salary, including but not limited to, health (including

dental and vision) insurance coverage, paid vacation time, and matching 401k

contributions up to three percent (3%) of annual compensation.

       15.    The Agreement further provided that in the event of a breach of the

Agreement, “[Windhorst] shall also be entitled to all rights and remedies that are

provided under law, including all rights and remedies for injunctive relief and/or

monetary recovery.” Id., p. 4, ¶10.

       16.    On December 15, 2014, Swift & Staley signed a Letter of Commitment,

attached as Exhibit B, memorializing its agreement to pay Windhorst the one-time

incentive payment and the annual performance compensation increase in consideration

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for his commitment for a three-year term of employment and supplementing the terms

of the Agreement.

       17.    Swift & Staley agreed to pay Windhorst a one-time incentive payment in

the amount of ten thousand dollars ($10,000), to be awarded at the end of the three-

year commitment period under the Agreement. Ex. B, ¶2.

       18.    In addition, Swift & Staley awarded Windhorst an annual performance

compensation increase of two percent (2%) per year during the three-year term of the

Agreement. Id., ¶3

       19.    On or around October 1, 2015, upon information and belief, Swift & Staley

received the follow-on contract Notice to Proceed from the DOE.

       20.    On December 11, 2015, during the term of the Agreement, Swift & Staley

terminated Windhorst’s employment.

       21.    At the time of his termination, Swift & Staley provided Windhorst a letter

dated December 11, 2015 informing Windhorst of his termination. Exhibit C.

       22.    The termination letter from Swift & Staley did not set forth any reason as

to why Swift & Staley had terminated Windhorst’s employment. Id.

       23.    Swift & Staley did not initially provide Windhorst with any reason for

terminating his employment and did not assert that he breached the Agreement with

Swift & Staley.

       24.    The Agreement permitted Swift & Staley to terminate Windhorst “for

cause,” or by reason of death or disability. Ex. A, p. 2, ¶5.

       25.    “For cause” termination must be accompanied with a “written notice

which states the reason or reasons for termination”. Id.



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       26.     Windhorst subsequently filed for unemployment compensation after his

termination.

       27.     In response to the request for information relating to Windhorst’s claim

for unemployment, Swift & Staley refused to provide a reason for his termination.

       28.     Subsequently, Swift & Staley disclosed that Windhorst was terminated in

part or in full, because of his participation in a request for increased pay that occurred

nearly four months prior to his termination.

       29.     The incident involved a worker for Swift & Staley who requested a pay

increase.

       30.     In the course of this meeting, Windhorst complained to his superior at

Swift & Staley that similarly situated employees of Swift & Staley were entitled to receive

wages that were greater than the wages the worker was currently receiving.

       31.     The matter was subsequently revealed to Windhorst to be a contributing

factor to his termination and he was accused of “undercutting” his supervisor, the owner

of Swift & Staley.

       32.     After his termination and after a period in which Windhorst was

unemployed, Windhorst subsequently obtained gainful employment, however,

Windhorst has decreased compensation and benefits.

       33.     As a result of Swift & Staley’s actions, Windhorst incurred damages,

including loss of wage and compensation.

       34.     Windhorst continues to incur damages as a result of the violations and

breaches of contract complained of in this Complaint.




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                                      LEGAL CLAIMS

                                  First Cause of Action
                                 BREACH OF CONTRACT

        35.      The Plaintiff, Windhorst, restates and realleges the factual averments

made in paragraphs numbers 1 through and including 34 as though set forth herein in

full.

        36.      Based upon the aforementioned, the Defendant, Swift & Staley, breached

the Agreement including all amendments and supplements.

        37.      The Plaintiff, Windhorst, incurred damages as a result of the breach

including, but not limited to, the following:

              A. The remainder of his unpaid annual salary for the three-year term,

              B. Two percent (2%) annual increases in annual compensation under the

                 terms of the Agreement and Letter of Commitment;

              C. Ten thousand dollars ($10,000) in incentive compensation upon

                 completion of the term;

              D. Paid time off that would have accrued during the term of the Agreement;

              E. 401k matching contributions paid by Swift & Staley during the term of the

                 Agreement;

              F. Health coverage for Windhorst and his dependents during the term of the

                 Agreement;

              G. Participation in any other profit-sharing or bonus opportunities.

                            Second Cause of Action
                 VIOLATION OF FLSA §15(a)(3), 29 U.S.C. § 215(a)(3)




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         38.   The Plaintiff, Windhorst, restates and realleges the factual averments

made in paragraphs numbers 1 through and including 34 as though set forth herein in

full.

         39.   Pursuant to FLSA §15(a)(3), 29 U.S.C. §215(a)(3), Windhorst engaged in

protected conduct when he made a complaint relating to a worker’s wages not being

commensurate with the wages of similarly situated workers.

         40.   Swift & Staley was an “employer” for all purposes pursuant to FLSA §3(d),

29 U.S.C. §215(a)(3).

         41.   Windhorst sustained an adverse employment action by Swift & Staley

when Swift & Staley terminated Windhorst’s employment as a result of his engagement

in conduct that is protected by federal statute.

         42.   As a result of the violation, Windhorst is entitled to a private cause of

action to recover all statutorily recognized damages pursuant to FLSA §16, 29 U.S.C.

§216, including, reinstatement, lost wages and liquidated damages equal to the lost

wages, front pay, reasonable attorneys’ fees and costs, pre-judgment interest, and,

entitlement to punitive damages.

                           Third Cause of Action
                   COMMON LAW WRONGFUL TERMINATION

          43. The Plaintiff, Windhorst, restates and realleges the factual averments

 made in paragraphs numbers 1 through and including 34 as though set forth herein in

 full.

          44. Pursuant to Kentucky common law, employees have a cause of action for a

 wrongful discharge when the discharge is contrary to a fundamental and well-defined

 public policy as evidenced by existing law.


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        45. Federal law and Kentucky law establishes a fundamental and well-defined

public policy against terminating an employee because the employee has made any

complaint under either the FLSA or Kentucky’s Wage and Hour Law (including, but not

limited to, KRS 337.990(14)(a)) to his or her employer.

        46. Swift & Staley wrongfully terminated Windhorst, and Windhorst has

sustained damages.



WHEREFORE, the Plaintiff, Edward Ray Windhorst, prays for judgment, against the

Defendant, Swift & Staley Inc., as follows:

          A. A finding that the Defendant, Swift & Staley Inc., breached the Swift &

              Staley Employment Commitment, and all supplements and amendments.

          B. A finding that the Defendant, Swift & Staley Inc., violated FLSA §15(a)(3),

              29 U.S.C. §215(a)(3), and Kentucky common law when the Defendant

              terminated Windhorst.

          C. A judgment in favor of the Plaintiff, Edward Ray Windhorst, against the

              Defendant, Swift & Staley Inc., for all damages, including, but not limited

              to all compensatory damages, including general and special damages, and

              all incidental damages arising from Swift & Staley’s breach.

          D. A judgment in favor of the Plaintiff, Edward Ray Windhorst, against the

              Defendant, Swift & Staley Inc., for all statutory damages permitted for

              violations of FLSA §15(a)(3).

          E. Pre-judgment interest.

          F. Punitive damages.



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         G. An award in favor of the Plaintiff against the Defendant for all costs and

             attorneys’ fees, including investigation and expert costs, including as such

             attorneys fees and costs are allowed pursuant to FLSA §16(b) for

             violations; and

         H. Any and all such other relief as the Court deems just and proper.

                               JURY TRIAL DEMAND

      The Plaintiff herein demands a trial by jury.



                                                      Respectfully submitted,


                                                      /s/ Nick Wallingford
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